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AO 450(Rev. I I/I I) JudBtnent in a Civil Action


                                       United States District Court
                                                                    for the
                                                       Eastern District of New York


                      GLORIA GORHAM
                              Plaintiff
                                  V.                                           Civil Action No. 14-CV-6865(LDH)
                CITY OF NEW YORK ET AL
                        Defendant

                                               JUDGMENT IN A CIVIL ACTION

The court has ordered that(chedc one):
                                                                                                                  recover from the
□ the plaintiff f/Ki/nei;
defendant (name)                                                                                                     the amount of
                                                                              dollars ($             _ ), which includes prejudgment
interest at the rate of                     %, plus post judgment interest at the rate of            % per annum, along with costs.

□ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                            recover costs from the plaintiff (name)


     other:      The Court finds in favor of defendants on all claims.



This action was (check one):

O triedby a jury with Judge                                                                             presiding, and the jury has
rendered a verdict.

 w tried by Judge LaShann DeArcy Hall                                                       without a jury and the above decision
 was reached.

□ decided by Judge                                                                               on a motion for




 Date:                                                                        CLERK OF COURT




                                                                                            Signature ofClerk or Deputy Clerk
